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16 Counsel for Defendant Google LLC

17                         UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
18
     CHASOM BROWN, et al., individually and         Case No. 4:20-cv-03664-YGR-SVK
19   on behalf of themselves and all others
     similarly situated,                            DECLARATION OF JOSEPH H.
20
                                                    MARGOLIES IN SUPPORT OF
                    Plaintiffs,                     PLAINTIFFS’ ADMINISTRATIVE
21
            v.                                      MOTION TO FILE UNDER SEAL THE
22                                                  SECOND SUPPLEMENTAL REPORT OF
     GOOGLE LLC,                                    JONATHAN HOCHMAN (DKT. 990)
23
                    Defendant.                      Judge: Hon. Yvonne Gonzalez Rogers
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                                                                Case No. 4:20-cv-03664-YGR-SVK
                                  MARGOLIES DECLARATION ISO ADMINISTRATIVE MOTION TO SEAL
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 1          I, Joseph H. Margolies, declare as follows:
 2          1.      I am an attorney with Quinn Emanuel Urquhart & Sullivan, LLP, attorneys for
 3 Defendant Google LLC (“Google”) in this action. I am making this declaration pursuant to Civil

 4 Local Rule 79-5(e)–(f) as an attorney for Google as the Designating Party, pursuant to Civil Local

 5 Rule 79-5(f)(3) in response to Dkt. 990.

 6          2.      On September 8, 2023, Plaintiffs filed their Administrative Motion to File Under
 7 Seal the Second Supplemental Report of Johnathan Hochman (Dkt. 990), pursuant to the Court’s

 8 September 7, 2023 Order (Dkt. 988). On September 8, 2023, I received unredacted service copies

 9 of the document sought to be sealed.

10          3.      I have reviewed the documents that Plaintiffs seek to file under seal pursuant to Civil
11 Local Rule 79-5(f). Based on my review, there are compelling reasons to seal the following:

12      Document(s) to be Sealed                                  Basis for Sealing
     Second Supplemental Expert             The information requested to be sealed contains Google’s
13   Report of Jonathan E. Hochman          highly confidential and proprietary information regarding
14                                          highly sensitive features of Google’s internal systems and
     Pages 2-19                             operations, including Google’s logs and internal metrics,
15                                          that Google maintains as confidential in the ordinary
     Google joins Plaintiffs’ motion to     course of its business and is not generally known to the
16   seal in PART with respect to this      public or Google’s competitors. Such confidential and
     document.                              proprietary information reveals Google’s internal
17                                          strategies, system designs, and business practices for
18                                          operating and maintaining many of its important services,
                                            and falls within the protected scope of the Protective Order
19                                          entered in this action. See Dkt. 81 at 2–3. Public disclosure
                                            of such confidential and proprietary information could
20                                          affect Google’s competitive standing as competitors may
                                            alter their systems and practices relating to competing
21
                                            products. It may also place Google at an increased risk of
22                                          cybersecurity threats, as third parties may seek to use the
                                            information to compromise Google’s internal practices
23                                          relating to competing products.

24
            4.      Google’s request is narrowly tailored in order to protect its confidential information.
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     These redactions are limited in scope and volume. Because the proposed redactions are narrowly
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     tailored and limited to portions containing Google’s highly confidential or confidential information,
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                                     MARGOLIES DECLARATION ISO ADMINISTRATIVE MOTION TO SEAL
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 1 Google requests that the portions of the aforementioned documents be redacted from any public

 2 version of those documents.

 3         5.      Google does not seek to redact or file under seal any portions of Plaintiffs’ Expert

 4 Report not indicated in the table above.

 5         I declare under penalty of perjury of the laws of the United States that the foregoing is true

 6 and correct. Executed in Bayside, Wisconsin on September 15, 2023.

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                                                 By        /s/ Joseph H. Margolies
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                                                    Joseph H. Margolies
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                                     MARGOLIES DECLARATION ISO ADMINISTRATIVE MOTION TO SEAL
